Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 1 of 147 PageID #: 1982
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 2 of 147 PageID #: 1983
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 3 of 147 PageID #: 1984
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 4 of 147 PageID #: 1985
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 5 of 147 PageID #: 1986
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 6 of 147 PageID #: 1987
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 7 of 147 PageID #: 1988
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 8 of 147 PageID #: 1989
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 9 of 147 PageID #: 1990
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 10 of 147 PageID #:
                                    1991
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 11 of 147 PageID #:
                                    1992
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 12 of 147 PageID #:
                                    1993
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 13 of 147 PageID #:
                                    1994
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 14 of 147 PageID #:
                                    1995
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 15 of 147 PageID #:
                                    1996
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 16 of 147 PageID #:
                                    1997
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 17 of 147 PageID #:
                                    1998
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 18 of 147 PageID #:
                                    1999
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 19 of 147 PageID #:
                                    2000
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 20 of 147 PageID #:
                                    2001
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 21 of 147 PageID #:
                                    2002
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 22 of 147 PageID #:
                                    2003
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 23 of 147 PageID #:
                                    2004
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 24 of 147 PageID #:
                                    2005
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 25 of 147 PageID #:
                                    2006
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 26 of 147 PageID #:
                                    2007
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 27 of 147 PageID #:
                                    2008
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 28 of 147 PageID #:
                                    2009
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 29 of 147 PageID #:
                                    2010
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 30 of 147 PageID #:
                                    2011
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 31 of 147 PageID #:
                                    2012
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 32 of 147 PageID #:
                                    2013
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 33 of 147 PageID #:
                                    2014
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 34 of 147 PageID #:
                                    2015
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 35 of 147 PageID #:
                                    2016
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 36 of 147 PageID #:
                                    2017
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 37 of 147 PageID #:
                                    2018
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 38 of 147 PageID #:
                                    2019
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 39 of 147 PageID #:
                                    2020
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 40 of 147 PageID #:
                                    2021
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 41 of 147 PageID #:
                                    2022
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 42 of 147 PageID #:
                                    2023
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 43 of 147 PageID #:
                                    2024
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 44 of 147 PageID #:
                                    2025
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 45 of 147 PageID #:
                                    2026
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 46 of 147 PageID #:
                                    2027
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 47 of 147 PageID #:
                                    2028
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 48 of 147 PageID #:
                                    2029
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 49 of 147 PageID #:
                                    2030
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 50 of 147 PageID #:
                                    2031
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 51 of 147 PageID #:
                                    2032
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 52 of 147 PageID #:
                                    2033
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 53 of 147 PageID #:
                                    2034
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 54 of 147 PageID #:
                                    2035
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 55 of 147 PageID #:
                                    2036
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 56 of 147 PageID #:
                                    2037
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 57 of 147 PageID #:
                                    2038
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 58 of 147 PageID #:
                                    2039
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 59 of 147 PageID #:
                                    2040
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 60 of 147 PageID #:
                                    2041
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 61 of 147 PageID #:
                                    2042
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 62 of 147 PageID #:
                                    2043
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 63 of 147 PageID #:
                                    2044
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 64 of 147 PageID #:
                                    2045
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 65 of 147 PageID #:
                                    2046
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 66 of 147 PageID #:
                                    2047
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 67 of 147 PageID #:
                                    2048
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 68 of 147 PageID #:
                                    2049
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 69 of 147 PageID #:
                                    2050
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 70 of 147 PageID #:
                                    2051
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 71 of 147 PageID #:
                                    2052
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 72 of 147 PageID #:
                                    2053
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 73 of 147 PageID #:
                                    2054
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 74 of 147 PageID #:
                                    2055
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 75 of 147 PageID #:
                                    2056
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 76 of 147 PageID #:
                                    2057
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 77 of 147 PageID #:
                                    2058
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 78 of 147 PageID #:
                                    2059
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 79 of 147 PageID #:
                                    2060
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 80 of 147 PageID #:
                                    2061
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 81 of 147 PageID #:
                                    2062
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 82 of 147 PageID #:
                                    2063
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 83 of 147 PageID #:
                                    2064
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 84 of 147 PageID #:
                                    2065
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 85 of 147 PageID #:
                                    2066
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 86 of 147 PageID #:
                                    2067
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 87 of 147 PageID #:
                                    2068
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 88 of 147 PageID #:
                                    2069
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 89 of 147 PageID #:
                                    2070
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 90 of 147 PageID #:
                                    2071
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 91 of 147 PageID #:
                                    2072
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 92 of 147 PageID #:
                                    2073
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 93 of 147 PageID #:
                                    2074
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 94 of 147 PageID #:
                                    2075
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 95 of 147 PageID #:
                                    2076
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 96 of 147 PageID #:
                                    2077
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 97 of 147 PageID #:
                                    2078
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 98 of 147 PageID #:
                                    2079
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 99 of 147 PageID #:
                                    2080
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 100 of 147 PageID #:
                                     2081
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 101 of 147 PageID #:
                                     2082
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                                     2083
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                                     2084
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                                     2085
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                                     2086
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                                     2087
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 107 of 147 PageID #:
                                     2088
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                                     2089
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 109 of 147 PageID #:
                                     2090
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 110 of 147 PageID #:
                                     2091
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 111 of 147 PageID #:
                                     2092
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 112 of 147 PageID #:
                                     2093
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 113 of 147 PageID #:
                                     2094
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 114 of 147 PageID #:
                                     2095
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                                     2096
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                                     2097
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                                     2098
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                                     2099
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 119 of 147 PageID #:
                                     2100
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 120 of 147 PageID #:
                                     2101
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 121 of 147 PageID #:
                                     2102
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 122 of 147 PageID #:
                                     2103
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 123 of 147 PageID #:
                                     2104
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 124 of 147 PageID #:
                                     2105
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 125 of 147 PageID #:
                                     2106
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                                     2107
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                                     2108
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                                     2109
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 129 of 147 PageID #:
                                     2110
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 130 of 147 PageID #:
                                     2111
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                                     2112
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                                     2113
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 133 of 147 PageID #:
                                     2114
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 134 of 147 PageID #:
                                     2115
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 135 of 147 PageID #:
                                     2116
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 136 of 147 PageID #:
                                     2117
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 137 of 147 PageID #:
                                     2118
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                                     2119
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 139 of 147 PageID #:
                                     2120
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 140 of 147 PageID #:
                                     2121
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 141 of 147 PageID #:
                                     2122
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 142 of 147 PageID #:
                                     2123
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 143 of 147 PageID #:
                                     2124
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 144 of 147 PageID #:
                                     2125
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 145 of 147 PageID #:
                                     2126
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 146 of 147 PageID #:
                                     2127
Case: 4:18-cv-01283-SRC Doc. #: 109-1 Filed: 03/09/21 Page: 147 of 147 PageID #:
                                     2128
